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     UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, JOHN DOE #5, JOHN
DOE #6, JOHN DOE #7, JOHN DOE #8,
and JOHN DOE #9,
                                                    MEMORANDUM OF LAW
                       Plaintiffs,                  Case No.: 5:18-cv-496 (FJS/DEP)
       v.

SYRACUSE UNIVERSITY, KENT
SYVERUD, individually and as Chancellor
of Syracuse University, ROBERT
HRADSKY, individually and as Syracuse
University Dean of Students and Associate
Vice President of the Student Experience,
and TERESA ABI-NADER DAHLBERG,
individually and as the Dean of the College
of Engineering and Computer Science,

                       Defendants.


       Plaintiffs, by and through their attorneys, Smith, Sovik, Kendrick & Sugnet, P.C., submit

this Memorandum of Law in opposition to Defendants' motion to correct the caption and identify

Plaintiffs by name. Under the controlling test, Plaintiffs have established that their interest in

privacy is sufficient to allow them to proceed under a pseudonym and that Defendants will suffer

no prejudice if Plaintiffs can proceed anonymously. This case involves sensitive, personal, highly-

charged issues arising out of the statements and subsequent unwarranted disciplinary action taken

by Syracuse University based on the exercise of free speech in a private setting among consenting

participants resulting in Plaintiffs' suspension from Syracuse University. The University's

statements, and subsequent disciplinary charges, attempt to turn this private event—a roast—into

alleged harassment, claiming it was racist, anti-semitic, homophobic, sexist, and hostile to people

with disabilities and attributing those views to Plaintiffs.




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       At this point, due to the unwarranted statements by University administrators and officials

declaring Plaintiffs as actual bigots, sexists, homophobes, and anti-semitics, from the outset, it is

possible for determined individuals to 'connect' certain dots and identify some of the John Doe

Plaintiffs. Specifically, while the University pledged to keep the identity of the students charged

with disciplinary violations as a result of participating in the controversial skits confidential, it

took no action to prevent dissemination of efforts to 'out' and `dox' the students on University-

sponsored social media avenues following the videos' release by The Daily Orange.

       None of the students have been identified—individually or collectively—in any publically

filed document or media publication. Thus, an interne for these Plaintiffs' names does not (at the

present time) result in association with the University's repeated statements that Plaintiffs are

"extremely racist, anti-semitic, sexist, homophobic, and hostile to people with disabilities."

Forcing Plaintiffs to reveal their identities only ensures one outcome: even if Plaintiffs are

vindicated, their names will forever be tied to the videos as Google search result number 1.

       Within minutes of the Theta Tau videos' release Defendants labelled Plaintiffs as guilty of

engaging in the most egregious, offensive conduct imaginable and suggested they were a danger

to the whole University community without any regard for the physical safety of Plaintiffs. In the

ensuing month, as the story gained national infamy, Defendants' unnecessary, continual

condemnation of the videos fanned the firestorm, leading to riots and protests notwithstanding

their knowledge that the videos depicted satirical skits and not actual expressions of racism,

sexism, anti-semitism, homophobia, or hostility toward people with disabilities. Defendants'

actions contributed to a mob mentality on campus culminating in physical threats aimed at

Plaintiffs. Now Defendants seek to force Plaintiffs to identify themselves publically, which will

result in permanently branding Plaintiffs as racists, anti-semitics, homophobics, sexists, and people




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who are hostile to those with disabilities in the mind of any future admissions employee, employer,

or future friend. While Defendants correctly argue that Plaintiffs could be identified right now by

watching the videos and matching Plaintiffs to their faces, currently it would take serious

investigation and determination to link a Plaintiff to the videos and confirm Plaintiffs' identities.

       Contrary to the University's contentions, Plaintiffs' desire to remain anonymous is not

about the Plaintiffs avoiding "embarrassment" caused by this litigation, but, rather, is motivated

by bona fide concerns over their safety as well as future educational and employment prospects.

The stakes could not be higher. Plaintiffs should be permitted to proceed with this litigation

anonymously.

       A. The Violent Atmosphere On Campus Following the Videos' Release

       Plaintiffs seek to preserve the last chance they have at not forever being tied to the Theta

Tau videos: not having their names easily publically accessible. And, contrary to Defendants'

contentions, the threat of physical harm to Plaintiffs is very real. Indeed, Syracuse University

stationed a Department of Public Safety ("DPS") patrol car outside the Theta Tau house where

several Plaintiffs were living and put officers outside "standing watch"1 to avoid violence. After

the videos were released, a 250-person mob descended on the Theta Tau house, stopped only by

two DPS officers.2 As The Daily Orange described, the mob heckled the DPS officers protecting

Plaintiffs: "[a] Department of Public Safety vehicle was parked in front of the fraternity house




1Natalie Gontcharova, Syracuse University Students Demand Action After Racist Theta Tau Frat
Video is Leaked, YAHOO! (April 19, 2018), haps ://www.yahoo.com/lifestyl e/syracuse-university-
stu dents-demand-acti on-180000135.html.

2 Kennedy Rose, Students protest Theta Tau videos outside Chancellor Kent Syverud's house,
DAILY ORANGE (April 18, 2018), http://dai lyorange.com/2018/04/students-protest-theta-tau-
videos-outsid e-chan cellor-kent-syveruds-ho use/.



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during the protest, and two DPS officers stood in front of the building before marchers walked past

it. Marchers shouted, 'Who are you protecting?'"3 As one protest organizer stated: "If you are not

angry [at Plaintiffs], then you have no heart."4

       As the mob incident establishes, the aftermath of the videos' release did not result in

"peaceful protests and meetings" as Defendants claim. ECF No. 19-1, p. 12. To the contrary, the

campus was hostile and filled with protests and riots with hundreds of people.5 Defendants claim

"no acts of retaliation occurred and as time has passed, it is clear there is no legitimate risk of

safety . . . that requires ongoing anonymity," but Defendants are wrong. As John Doe #5 details

in his Declaration, and as both John Doe #1 and John Doe #5 detailed in their previous

affidavits, physical and education retaliation was threatened—and occurred—in the aftermath

of the videos' release. See Doe Decl., dm 3-10; see also ECF Nos. 5-3, 5-6.

       Plaintiffs received public, physical threats—includinz one involving potentially dead&

force—on social media and physical violence in the University community:




3Kennedy Rose, Students protest Theta Tau videos outside Chancellor Kent Syverud's house,
DAILY ORANGE (April 18, 2018), http://d ailyoran ge. cum/2018/ 04/s tud c ts-p ro i es t-thet a-tau-
videos-outside-chancellor-kent-syveructs-house/.

4Rori Sachs, Students protest in response to Theta Tau video, DAILY ORANGE (April 18, 2018),
http://dailvoranue,com/2018/04/st Liti eats-pro test-res nse-th eta-t au-v ci co/.

5 Natalie Gontcharova, Syracuse University Students Demand Action After Racist Theta Tau Frat
Video is Leaked, Y AHoo! (April 19, 2018), littps://w.ww.vithoo.comilifest vl cisyrocuse-university-
students-demand-action- I 8000013.5.html. "A protest erupted on campus Wednesday evening as
students demanded that the university release the videos." Catherline Leffert et al., SU suspends
Theta Tau, fraternity after video of 'extremely racist' behavior surfaces, DAILY ORANGE (April 19,
2018), http:i/clailvorarigc..corn/2018/04/su-suspends-theta-tau- fraternity- video-c\ treinelv-rocist-
behavior-surfaces/.



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                        •   "SO NOW WHAT. NOW WHAT. FIND THESE MFs SU
                            STUDENTS. FIND EM. VVVVVVIV"
                        •   "Should I deck him when I catch him lackin'?"6
                        •   "I would dead go just to fuck them up"7

         Although there was limited dissemination of the students' names on SU social media

outlets, the absence of public identification prevented more widespread threats from materializing.

Defendants now seek to permanently tie Plaintiffs to these controversial videos even after unjustly

disciplining them for assault, harassment, and violations of the University's anti-harassment

policy. Defendants' claims that they are racists, anti-semitic, homophobic, sexists, and hostile to

people with disabilities. In doing so, Defendants are not only again threatening Plaintiffs' physical

safety, but Defendants are engaging in a reckless attempt to forever alter the course of Plaintiffs'

personal, educational, and professional futures.

         B. The University Has Repeatedly Acknowledged Plaintiffs' Privacy is an Utmost
            Concern

         Syracuse University began the disciplinary process by repeatedly stating it would not

reveal Plaintiffs identities. At a forum in April, Defendant Robert Hradsky specifically stated,

"The law prevents us from providing any individually identifying information, so we wouldn't

be able to say 'Student X received this particular sanction,' but perhaps we may be able to do



6 "Caught lackin'" is slang for not being prepared to defend oneself with a gun when someone
randomly pulls a gun on you. Daniel Roth, Internet Craze The 'No Lackin Challenge' Where
People Pull Guns On Each Other To Film Their Response Goes Horribly Wrong When A Memphis
Boy, 17, Is Shot, DAILY MAIL (Jan. 28, 2018), http://www.dailymail.comk/news/article-
5321381/N o-lackin-challonge-stLII1{- i4Ocs-liorribly-wrong.htnil . The term originated in Chicago
and persists in gang communities: "The term refers to "lacking" a gun or fire arm, a way to
test the readiness of an individual should they need a firearm to protect themselves or use
for a more sinister purpose." Id. The Daily Mail described the "no lackin' challenge" as "the
most dangerous Internet craze to sweep YouTube." Id. One unwitting participant was actually
shot in the head. Id.

7   See Doe #5 Decl. Exhs. "C" and "D".



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something more broadly."8 "He said he would need to see if providing that information would be

in violation of the Family Education Rights and Privacy Act."9 On June 8, 2018, while discussing

the University Conduct Board decision involving Plaintiffs, Defendant Robert Hradsky again

stated, "[djue to federal privacy laws, we are not able to report on the specifics of those

sanctions."10 And, at the commencement of this lawsuit, counsel for Defendants asked for a

"schedule of identities for the John Does Plaintiffs so that I can prepare . . . opposition papers,"

but also stated he would "not make the names public in [the] opposition papers." Hulslander Decl.

Exh. "A", p. 2.

           Now, Defendants seek to reverse their position, which is particularly vindictive given

Plaintiffs are awaiting the opportunity to vindicate themselves in an Article 78 proceeding which

will review the lack of evidentiary basis for the University's disciplinary charges and the

University's procedural improprieties during the University Conduct Board proceedings.

Hulslander Decl. Exh. "H". However, the University has deliberately delayed in rendering

University Appeals Board decisions on Plaintiffs' appeals of the University Conduct Board

determinations. Hulslander Decl. Exh. "J". Indeed, Plaintiffs' appeals in the proceedings were

filed on June 8, 2018. Respondents in the proceedings waived their right to submit a response.




8Daniel Strauss & Kennedy Rose, SU Will Not Publicly Release Names Of Students In Theta Tau
Investigation, DAILY ORANGE (April 23, 2018), hap ://dai lyorange. com/2018/04/su-wi 11-not-
publi el v-release-names-students-theta-tau-investi station/.

9   Id.

10 Robert Hradsky, Update on Student Conduct Process from Dean of Students Robert Hradsky,
SYRACUSE UNIV. (June 8, 2018), littos://aews.syneclu./2018/06/update-on-student-concluct-
process-from-clean-of-stuclents-irobcrt-hraclsky/.



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HuIslander Decl. Exh. "I". In accordance with University procedures, the appeals should have

been decided in three days. HuIslander Decl. Exh. "G", § 12.8.

        Plaintiffs are currently at Defendants' mercy. Defendants have refused to issue a decision

on their appeals, which precludes Plaintiffs from commencing an Article 78 proceeding where

they would be entitled to anonymity as a matter of statutory law. N.Y. EDUCATION LAW § 6448;

N.Y. C.P.L.R. § 3016(i).

       C. Plaintiffs Have Offered to Eliminate Any Prejudice Resultiim From Pseudonym
          Status.

       Defendants disingenuously argue prejudice because they claim to not know who Plaintiffs

are while simultaneously asserting they are identifiable in the videos. More particularly, however,

Defendants know exactly who Plaintiffs are: they are obviously "students associated with the Theta

Tau videos," and students who are involved in disciplinary proceedings before the University

Conduct Board. ECF No. 19-1, p. 6; ECF No. 20-1, ¶ 7 ("[E]ach of these steps were completed

by the University with each of the Doe Plaintiffs."); ECF No. 20-4 (printout of holds placed on

Plaintiffs' transcripts). The University Conduct Board decisions complained of are identical in

reasoning, and Plaintiffs' claims are identical. See ECF No. 20-1, ¶ 23 (attaching one Plaintiffs'

decision as representative of all Plaintiffs' decisions). As a result, there is no prejudice that results

from Plaintiffs' anonymity even if—which is not the case here—Defendants had to actually guess

who each of the nine Plaintiffs are from the eighteen Plaintiffs initially charged. And, given the

First Amended Complaint's paragraphs identifying Plaintiffs' domicile and, in some cases, ethnic

information, which is also present in the affidavits, affirmations, and declarations filed in this case,

Defendants should have no trouble matching the John Doe Plaintiffs with Syracuse University

records.




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            Even if there was some prejudice arising out of Plaintiffs' anonymity, Plaintiffs have

offered to eliminate it by providing a confidential stipulation listing Plaintiffs' actual identities

under seal.            Hulslander Decl. Exhs. "A" and "B".   Defendants refused Plaintiffs' offer.

Hulslander Decl. Exh. "A".            Plaintiffs remain ready, willing, and able to enter into the

stipulation. As a result, any prejudice asserted by Defendants is either non-existent or self-

imposed.


   I.         CONTRARY TO DEFENDANTS' CONTENTIONS, THE APPLICABLE LAW FAVORS
              PROCEEDING ANONYMOUSLY

        In federal court, courts across the nation have allowed anonymity in factually identical

circumstances. See Doe v. Colgate Univ., No. 5:15-cv-1069, 2016 WL 1448829, at *4 (N.D.N.Y.

April 12, 2016), rev 'g 2015 WL 5177736 (N.D.N.Y. Sept. 4, 2015) (collecting cases). Defendants

correctly identify Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185 (2d Cir. 2008), as the leading

Second Circuit case regarding when a party can proceed anonymously. However, Defendants fail

to properly analyze the Sealed Plaintiff factors and, indeed, fail to acknowledge on-point case law

governing this particular factional scenario. As discussed below, several of the Sealed Plaintiff

factors militate in favor of allowing the case to proceed anonymously under pseudonyms.

        A. On Point Cases Cited by Defendants Establish
           Plaintiffs' Right to Proceed Anonymously

        Defendants only cite two cases involving this specific context—disputes regarding

disciplinary matters between college students and a University—and both undermine their

position.

        First, Doe v. Colgate University, is on point and its import is wholly ignored by Defendants.

In Doe v. Colgate University, this Court reviewed a Magistrate Judge's decision de novo and

allowed the plaintiffs to proceed anonymously. Doe v. Colgate Univ., No. 5:15-cv-1069, 2016



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WL 1448829, at *4 (N.D.N.Y. April 12, 2016), rev 'g 2015 WL 5177736 (N.D.N.Y. Sept. 4, 2015).

There, the Court began by acknowledging the Sealed Plaintiff factors and then analyzed whether

a student accused of sexual assault who was then suspended was entitled to proceed anonymously

against Colgate University. Id. at *1-2.11 The Court began by noting that "cases stemming from

investigations of sexual abuse on college and university campuses have garnered significant media

attention, posing the risk of further reputational harm to both the plaintiffs in these cases and their

accusers." Id. at *2 (citing Doe v. Brown Univ., No. 15-144, 2016 WL 715794, at *1 (D.R.I. Feb.

22, 2016). Before returning to the Sealed Plaintiff factors, the Court found "that protecting the

anonymity of sexual assault victims and those accused of committing sexual assault can be an

important safeguard to ensure that the due process rights of all parties are protected." Id.

       Returning to the Sealed Plaintiff factors, the Court found that the first two factors, whether

the litigation presented sensitive, personal issues and whether identification created a risk of

retaliation, cut in the plaintiffs favor. Id. at *3. The Court specifically noted that "courts across

the country have allowed plaintiffs alleging similar claims against colleges and universities

stemming from investigations of sexual assault to proceed anonymously." 12 Id. The Court also



11The Magistrate Judge's 2015 decision was issued sua sponte because plaintiff's Complaint
indicated a motion to proceed anonymously would be filed contemporaneously with the complaint,
but a month passed without any filing. Id. at *1 ("At the time Judge Peebles issued the September
Order, neither party had submitted arguments on the issue of whether Plaintiff could proceed under
pseudonym."). When the issue was reviewed de novo and fully briefed before the District Court
Judge, the Court held that proceeding anonymously was warranted. Id. at *4.

12In weighing the first two factors, the Court collected seven on-point decisions uniformly holding
that Plaintiff's privacy interests allowed them to proceed anonymously. Id. at *3 (citing Doe v.
Univ. of Massachusetts-Amherst, No. 14-30143, 2015 WL 4306521 (D. Mass. Jul. 28, 2015); John
Doe v. Columbia Univ. and Trs. of Columbia Univ., 101 F. Supp. 3d 356 (S.D.N.Y. 2015); Doe v.
Washington & Lee Univ., No. 14-CV-00052, 2015 WL 4647996 (W.D. Va. Aug. 5, 2015); Doe v.
Salisbury Univ., 107 F. Supp. 3d 481 (D. Md. 2015); then citing Doe v. Univ. of S. Fla. Bd. of Trs.,
No. 8:15-cv-682, 2015 WL 3453753 (M.D. Fla. May 29, 2015); Doe v. Univ. of the S., 687 F.
Supp. 2d 744 (E.D. Tenn. 2009)); see also Doe v. Purdue Univ., 321 F.R.D. 339, 342 (N.D. Ind.


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found that the third factor, the disclosure's harm to Plaintiff, was in Plaintiff's favor, stating

"[s]hould Plaintiff prevail in proving that the charges against him were unfounded and the

procedures Defendants followed in their investigation were unfair, forcing Plaintiff to reveal his

identity would further exacerbate the emotional and reputational injuries he alleges." Id. And,

continuing on the third factor, the Court found that Yorcing Plaintiff to reveal his identity would

not advance any aspect of the litigation but instead poses a risk that Plaintiff would be subject

to unnecessary ridicule and attention." Id. The Court further found that public policy boded in

favor of anonymity under this factor because of the "potential chilling effect that forcing Plaintiff

to reveal his identity would have on future plaintiffs facing similar situations." Id. Turning to the

prejudice to the defendants, the sixth factor, the Court found that "Defendants are aware of

Plaintiff's true identity and will have an uninhibited opportunity to litigate this matter regardless

of whether Plaintiff's identity is disclosed publicly." Id. Thus, the Court in Doe v. Colgate

University held, "that Plaintiff's interest in anonymity outweighs "both the public interest in

disclosure and any prejudice" to Defendants." Id. at *4 (quoting Sealed Plaintiff; 537 F.3d at

189).13

          Here, as in Doe v. Colgate University, this case involves sensitive, highly-charged issues

of a personal nature, which favors allowing Plaintiffs to proceed anonymously. See generally ECF




2017) (allowing student-plaintiffs to proceed anonymously); Doe v. Trs. Of Dartmouth Coll., No.
18-cv-040-LM, 2018 WL 2048385, at *3 (D.N.H. May 2, 2018) (same); id. at *3, n. 1 (collecting
scholarly work regarding pseudonyms in litigation).

13Defendants may argue that "cases where the parties consented to allow a plaintiff to proceed
under pseudonym are somehow unpersuasive" but, as the Court noted in Doe v. Colgate
University, those cases "indicate that the accused colleges and universities recognize the highly
personal and sensitive nature of these cases as well as the limited value of forcing plaintiffs to
reveal their identities when seeking to vindicate their federal rights." Id. at *3.



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Doc. No. 1. Just as in Doe v. Colgate University, "[s]hould Plaintiff[s] prevail in proving that the

charges against [them] were unfounded and the procedures Defendants followed in their

investigation were unfair, forcing Plaintiff[s]
                                   Plaintiff's] to reveal [their] identity would further exacerbate the

emotional and reputational injuries" unnecessarily. Id. at *3. Clearly, Defendants, already know

who Plaintiffs are, having charged and disciplined each of them under the University's conduct

rules. Plaintiffs' formal standing offer to execute a stipulation identifying the John Doe Plaintiffs

under seal eliminates any conceivable remaining prejudice.14 See Hulslander Decl. Exhs. "A" and

"B"; see also Doe v. Colgate Univ., 2016 WL 1448829, at *3 ("Defendants are aware of Plaintiff's

true identity and will have an uninhibited opportunity to litigate this matter regardless of whether

Plaintiff's identity is disclosed publicly."). Thus, as in Doe v. Colgate University, "forcing

Plaintiff's]
Plaintiff[s] to
              to reveal
                 reveal [their]
                        [their] identity
                                identity would
                                         would not
                                               not advance any aspect of the litigation but instead poses

a risk that Plaintiff[s]
            Plaintiff's] would
                         would be
                               be subject to unnecessary ridicule and attention." Id.

        Second, A.B. v. Hofstra University, an Eastern District of New York case, is

distinguishable. A.B. v. Hofstra Univ., No. 2:17-cv-5562, 2018 WL 1935986 (E.D.N.Y. 2018).

Critically, there unlike here, the plaintiff's name was actually revealed in another proceeding

before the anonymity issue was raised in A.B.
                                         A.B. for
                                              for the
                                                   the Court's
                                                       Court's decision. Id. at *1. Thus, the Court's

decision was predicated on the fact that the plaintiff's identity had already ordered to be exposed

in another litigation: "even if the factors weighed numerically in Plaintiff's favor the Court would




14 Further, in an attempt to maintain anonymity in this action, but to vitiate any claim that
Defendants do not know who Plaintiffs are, Plaintiffs offered to enter into a limited stipulation to
reveal Plaintiffs' true identities to Defendants. Hulslander Decl. Exh. "A". Defendants refused.
Hulslander Decl. Exh. "A". Plaintiffs are ready, willing, and able to enter into that stipulation at
this time. Thus, any alleged prejudice resulting from not knowing the John Does' true identities
flows from Defendants' actions.



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still require Plaintiff to proceed under his true name given the Court's prior decision denying

Plaintiffs request to proceed pseudonymously
Plaintiff's                   pseudonymously .....,,which
                                                    which shares
                                                          shares certain
                                                                 certain facts." Id. at *3.

        Even after the plaintiff's name was
                       plaintiffs name  was actually
                                            actually revealed in another court proceeding involving

the same subject matter, however, the Eastern District of New York found several Sealed Plaintiff

factors favored allowing the plaintiff to proceed anonymously.             Id. at *2-3. The Court

acknowledged that "the litigation here involves matters that are of a highly sensitive and personal

nature, as the case relates—in part—to allegations of sexual harassment and misconduct." Id. at

*2. The Court noted that the reason it was "not convinced" that the second factor cut in the

plaintiffs favor
plaintiff's favor was
                  was because
                      because "Plaintiff
                              "Plaintiff has
                                         has already
                                             already been identified by his true name in the other

case." Id. Additionally, the court found that the plaintiff could not be protected by any "alternative

mechanisms for protecting his confidentiality." Id. at *3. As to the sixth factor, prejudice to the

defendant, the Court found it was "effectively neutral, as there does not appear to be any direct

prejudice to Defendant from allowing Plaintiff to proceed pseudonymously at any stage of the

litigation." Id.

        Here, unlike A.B., Plaintiffs' names have not been revealed—in litigation or otherwise—

by Plaintiffs or Defendants. And, contrary to the facts in A.B., Plaintiffs will be statutorily entitled

to anonymity in the subsequent Article 78 proceeding should the University ever finalize the

administrative process by issuing decisions on Plaintiffs' appeals. N.Y. EDUCATION LAW § 6448.

        But, even assuming A.B. is persuasive precedent, even if this Court considers the social

media posts as disclosure of Plaintiffs' true identities, several Sealed Plaintiff factors establish

Plaintiffs' entitlement to proceed anonymously. As in A.B., "the litigation here involves matters

that are of a highly sensitive and personal nature, as the case relates—in part—to allegations of

sexual harassment and misconduct." A.B., 2018 WL 1935986, at *2. Further, there are no




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"alternative mechanisms for protecting his confidentiality" as Defendants refused to enter into a

stipulation regarding Plaintiffs' anonymity. Id. at *3; Hulslander Decl. Exh. "A". Finally,

contrary to Defendants' contentions, there is no prejudice to Defendants arising out of Plaintiffs'

attempt to proceed anonymously; instead, under A.B., this factor is "effectively neutral, as there

does not appear to be any direct prejudice to Defendant . . . at any stage of the litigation." Id.

       As a result, Plaintiffs should be allowed to proceed under pseudonyms under Doe v.

Colgate University and A.B. v. Hofstra University.

       B. Several Sealed Plaintiff Factors Militate in Favor of
          Allowing Plaintiffs to Remain Anonymous by Utilizing Pseudonyms Here.

       In Sealed Plaintiff the Second Circuit established the authoritative, ten-factor test for

determining when a Plaintiff can proceed anonymously. Sealed Plaintiff; 537 F.3d at 189-90.

Under Sealed Plaintiff; a Court must determine whether Plaintiffs' privacy interests outweigh the

public interest in knowing the true identities of the litigants by balancing ten factors:

       (1) whether the litigation involves matters that are highly sensitive and of a personal
       nature;
       (2) whether identification poses a risk of retaliatory physical or mental harm to the
       party seeking to proceed anonymously or even more critically, to innocent non-
       parties;
       (3) whether identification presents other harms and the likely severity of those
       harms, including whether the injury litigated against would be incurred as a result
       of the disclosure of the plaintiffs identity;
       (4) whether the plaintiff is particularly vulnerable to the possible harms of
       disclosure, particularly in light of his age;
       (5) whether the suit is challenging the actions of the government or that of private
       parties;
       (6) whether the defendant is prejudiced by allowing the plaintiff to press his claims
       anonymously, whether the nature of that prejudice (if any) differs at any particular
       stage of the litigation, and whether any prejudice can be mitigated by the district
       court;
       (7) whether the plaintiffs identity has thus far been kept confidential;
       (8) whether the public's interest in the litigation is furthered by requiring the
       plaintiff to disclose his identity;
       (9) whether, because of the purely legal nature of the issues presented or otherwise,
       there is an atypically weak public interest in knowing the litigants' identities; and



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        (10) whether there are any alternative mechanisms for protecting the confidentiality
        of the plaintiff.

537 F.3d at 189-90.

        Several Sealed Plaintiff factors favor allowing Plaintiffs to remain anonymous, as

discussed below. Plaintiffs' "interest in anonymity outweighs 'both the public interest in

disclosure and any prejudice' to Defendants.'" Colgate Univ., 2016 WL 1448829, at *4 (quoting

Sealed Plaintiff; 537 F.3d at 189).

        1. Factor 1: The Litigation Involves Matters That Are Highly Sensitive Because
           Defendants Labelled Plaintiffs as Racist, Anti-Semitic, Homophobic, Sexist, And
           Hostile To People With Disabilities, Which are Charged Terms in Today's Climate

        The University charged Plaintiffs for conduct it alleged was racist, anti-semitic,

homophobic, sexist, hostile to people with disabilities, and involved actual sexual acts, which are,

to put it mildly, sensitive issues in today's America. This case has garnered on campus protests,

online threats, and national media attention, making matters all the more sensitive. ECF No. 21-

2, TR 8-9. Suits arising out of university disciplinary actions, especially where the discipline itself

involved a sensitive topic, are sensitive and, thus, Plaintiffs' identity should be protected through

the use of anonymity. Doe v. Colgate Univ., 2016 WL 1448829, at *3 (collecting cases). The

stigma of being labelled racist, anti-semitic, homophobic, sexist, and hostile to people with

disabilities is the modern Scarlet Letter and Plaintiffs should not be forced to be forever branded

to vindicate their rights.

        2. Factors 2 and 3: Identifying Plaintiffs Poses a Risk Physical, Mental, Academic,
           and Reputational Harm to Plaintiffs, Who Are Young College Students

        Defendants claim that there would be no harm resulting from Plaintiffs being exposed

because "no acts of retaliation have occurred and as time has passed, it is clear there is no

legitimate risk to the safety of the Plaintiffs that requires ongoing anonymity." ECF No. 19-1, p.




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8. First, John Doe #4's Affirmation shows that Plaintiffs did receive threats and were harassed

after the videos were released and in the aftermath of statements by University administrators,

including Defendants. Second, as evidenced by the experience of Syracuse University students

like Hannah Strong,15 these types of highly-charged allegations involving racism can affect

professional pursuits for years after a controversy has occurred and ostensibly died down.

       3. Factor 4: Plaintiffs, While Not Minors, Are Particularly Vulnerable To The Possible
          Harms Of Disclosure, Because They Have Barely Passed The Age Of Majority

       Plaintiffs, while not minors, are young adults who should not be forced to be forever

connected to these videos just to vindicate their rights. If Defendants' motion is granted, Plaintiffs

will forever be indelibly branded as racist, anti-semitic, homophobic, sexist, and hostile to people

with disabilities by virtue of the simple ability to perform a Google search for Plaintiffs' names.

       4. Factors 5, 8, and 9: This Suit Involves A Private Dispute Arnong_st Private Actors, but
          the Issues are Contractual and Not a Matter of Legitimate Public Interest

       This suit is an action by private citizens to recover damages against private actors. Under

A.B., a private dispute is less likely to militate in favor of granting relief to proceed anonymously

through the use of a pseudonym. A.B. v. Hofstra Univ., No. 2:17-cv-5562, 2018 WL 1935986, at

*3 (E.D.N.Y. 2018). The public interest in open judicial proceedings is not "furthered by knowing

which college student brought a particular lawsuit as opposed to knowing simply that some

college student did so." Doe v. Univ. of St. Thomas, No. 16-cv-1127, 2016 WL 9307609, at *3

(D. Minn. May 25, 2016).



15 Hanna Strong was a "Syracuse University soccer player who suffered withering criticism in
2014 after she was captured on video using homophobic and racial slurs." Ken Sturtz, Former
Syracuse Soccer Player Loses Substitute Teacher Job Over 2014 Video, SYRACUSE.COM (Jan. 21,
2016),
haps://www.syracuse.com/news/index.ssf/2016/01/former Syracuse soccer player loses substit
utc teacher job over 2014 video contr.html. Two years later, she was dismissed from her
position as a substitute teacher and "apparently lost her teaching job over the incident." Id.


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        5. Factor 6: Defendants Are Not Prejudiced By Allowing Plaintiffs To Press Their
           Claims Anonymously

        Defendants implausibly claim they will be prejudiced if Plaintiffs are allowed to proceed

anonymously. Defendants have publically vowed to keep Plaintiffs' identities confidential and

Defendants concede that they have actual knowledge of Plaintiffs' identities. ECF No. 20, p. 4-

9 (describing University's actions against Plaintiffs). Plaintiffs have offered to remove any

supposed prejudice Defendants may suffer by offering to provide them the identities under seal

by stipulation; Defendants refused. Hulslander Decl. Exh. "A". There is simply no identifiable

prejudice to Defendants here that should preclude Plaintiffs from preserving their anonymity.

        6. Factor 7: Defendants Have Previously Agreed, And Within The Scope Of Their
           Control Have Succeeded In, Keeping Plaintiffs' Identities Confidential

       Defendants have specifically stated they will not reveal Plaintiffs' identities. ECF No. 19-

1, p. 15 ("The University itself has stringent procedures in place that protect its students'

privacy."). Defendants' argument that third parties may have identified Plaintiffs does not

minimize the effect of forcing Plaintiffs to reveal their true identities in publically available

documents.

        7. Factor 10: There Are No Alternative Mechanisms For Protecting The Confidentiality
           Of The Plaintiff.

       Defendants' do not meaningfully address this factor. Instead, Defendants start from the

position that "Plaintiffs have forfeited the confidentiality of their identities by filing this lawsuit"

and then merely claim that FERPA records can be protected by redaction. ECF No. 19-1, p. 15.

But FERPA protection is independent of, and irrelevant to, whether Plaintiffs can proceed

anonymously. Furthermore, as noted above, New York law recognizes a privacy interest in

challenging University disciplinary actions. N.Y. EDUCATION LAW § 6448; N.Y. C.P.L.R. §

3016(i). As the District of Minnesota noted in Doe v. University of Saint Thomas, it is "difficult



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to reconcile the University['s] . . . repeated and genuine expressions of concern for the privacy

of its students, including John [Does], with its decision not to follow the course taken by other

(though by no means all) universities and acquiesce to pseudonymous proceeding." Doe v.

Univ. of St. Thomas, No. 16-cv-1127, 2016 WL 9307609, at *3 (D. Minn. May 25, 2016).

   II.         CONCLUSION

         For the foregoing reasons, Plaintiffs are entitled to proceed anonymously. Accordingly,

Defendants' motion should be denied.



Dated: July 9, 2018                          SMITH, SOVIK, KENDRICK & SUGNET, P.C.



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